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                        EXHIBIT H
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Jon Hage
Chairman, Chief Executive Officer
Charter Schools USA at Berkeley LLC
800 Corporate Drive #124
Ft. Lauderdale, FL 33334



Re: Breach of Management Agreement


Dear Jon:
   The management agreement between Charter School USA and Berkely
   Charter Education Association, Inc. dba Mevers School of Excellence
   states that CSUSA will be responsible for the “Management of the
   accounting operation, including general ledger management and
   financial reporting including identifying and applying for non-
   competitive grants (competitive grants may include fees for application
   preparation and ongoing management for reporting and compliance),
   spending and administering any associated grant funding obtained in
   compliance with the specific terms and conditions of said grants and
   participating in any audits related thereto…”

   We have conducted a review of federal funding since 2018 for Mevers
   School of Excellence using reliable information provided to us by the
   sponsor. Our review reveals that a potential sum of $505,068.07 has
   been lost between FY19 and FY24. Listed here is the historical record of
   potential federal funding that Mevers School of Excellence did not claim
   reimbursement within the designated time frames. Each grant is listed
   under the year the funding ended or expired:
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2023-2024 - $97,170.07
    •   FY23 IDEA - $584.00
    •   FY23 Title II - $3,637.00
    •   FY23 Title I - $56,812.21
•       FY21 ESSER III - $36,136.86

2022-2023 - $16,111.86
    •   FY22 IDEA ARP - $4,712.19
    •   FY21 TSI - $6,958.58
    •   FY20 TSI - $3,979.37
    •   ESSER II - $461.72
    •   FY23 Title I, Title II, and IDEA funds that would have been lost were rolled to 2023-
         2024 in the hopes the school would continue to spend it out.


2021-2022 - $266,745.93
    •   FY22 IDEA - $40,502.50
    •   FY22 Title II - $10,027.11
    •   FY19 TSI - $748.65
    •   FY22 Title I - $137,105.98
    •   GEER - $78,361.69



2020-2021 - $70,426.82
    •   FY21 IDEA - $21,489.76
    •   FY21 Title II - $5,203.75
    •   FY21 LEAP - $1.00
    •   FY21 CRF - $43,732.31



2019-2020 - $33,336.32
    •   FY20 IDEA - $23,836.32
    •   FY20 Title II - $9,500.00



2018-2019 - $21,277.07
    •   FY19 IDEA - $13,277.07
    •   FY19 Title II - $8,000.00
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This failure on CSUSA’s part is a serious concern to BCEA. Notice is
hereby given pursuant to the Mevers Management Agreement that this is
considered a material breach of the responsibilities of CSUSA. If we do not
receive a satisfactory response and cure, we will proceed with the remedies
provided under the Management Agreement.


Sincerely,




Stewart Weinberg, Ph.D.
President
Berkeley Charter Education Association
